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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)

                                                                       Docket Ref. Nos.: 19, 54, 322, 402, 403, 404
                                                                       433, 435



    NOTICE OF FILING (I) REVISED PROPOSED FINAL ORDER (I) AUTHORIZING
       THE DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO
     UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
    PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
    (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE OF THE FOLLOWING:

                  1.         On August 9, 2023, the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) filed the Motion of the Debtors for Interim and Final Orders (I)

Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)

Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,

(IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 19] (the “Motion”).

                  2.         On August 11, 2023, the Court signed the Interim Order (I) Authorizing

Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)

Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 40] (the “Interim DIP



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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.


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Order”). Pursuant to the Interim DIP Order, objections to entry of a final order granting the Motion

were due no later than August 31, 2023 at 4:00 p.m. Eastern Time (the “Objection Deadline”).

The Objection Deadline was extended for the Official Committee of Unsecured Creditors (the

“Committee”) to September 7, 2023.

                 3.          The Debtors received informal responses from the Committee.           On

September 13, 2023, the Committee filed a Statement regarding the Motion [Docket No. 267].

                 4.          On August 31, 2023, Lavvan, Inc. (“Lavvan”) filed a Limited Objection to

the Motion [Docket No. 172]. On September 8, 2023, Lavvan, subsequently filed a Supplemental

Objection to the Motion [Docket No. 211].

                 5.          On September 11, 2023, the Debtors filed the Redacted Reply of the Debtors

in Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to

Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)

Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

[Docket No. 238] (the “Reply”). Attached to the Reply as Exhibit A was a revised proposed final

Order (the “Proposed Final Dip Order”).

                 6.          On September 19, 2023, the Court entered the Second Interim Order (I)

Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)

Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,

(IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 322] (the “Second

Interim DIP Order”) approving further relief with respect to the Motion on a further interim basis

pending a final hearing on the Motion.

                 7.          The Debtors, Euagore, LLC and the Foris Prepetition Secured Lenders, and

Lavvan filed supplemental briefs with respect to the Motion.


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                 8.          On October 4, 2023, the Court conducted a final hearing on the Motion.

The Court is expected to give its ruling on the Motion today.

                 9.          Attached hereto as Exhibit A is a further revised version of the Proposed

Final DIP Order (the “Revised Proposed Final DIP Order”) which reflects the comments of and

agreements with the Committee. The Revised Proposed Final DIP has not been shared with

Lavvan in advance of filing, pending the Court’s ruling on the Motion. The Debtors are filing the

Revised Proposed Final DIP Order to advise the Court as to the agreement with the Committee

(and only the Committee) on the form of order prior to the Court’s ruling on the Motion.          \

                 10.         Attached hereto as Exhibit B is a redline of the Revised Proposed Final DIP

Order reflecting changes against the Second Interim DIP Order.

 Dated: October 11, 2023                               PACHULSKI STANG ZIEHL & JONES LLP

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